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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JACOB CORMAN, in his official       :          CIVIL ACTION NO. 1:18-CV-443
capacity as Majority Leader of the  :
Pennsylvania Senate, et al.,        :          Three Judge Panel Convened
                                    :          Pursuant to 28 U.S.C. § 2284(a)
                   Plaintiff        :
                                    :
             v.                     :
                                    :
ROBERT TORRES, in his official      :
capacity as Acting Secretary of the :
Commonwealth, et al.,               :
                                    :
                   Defendants       :
                                    :
             v.                     :
                                    :
CARMEN FEBO SAN MIGUEL, et al., :
                                    :
                   Intervenor-      :
                   Defendants       :

                                       ORDER

       BEFORE: Jordan, Circuit Judge; Conner, Chief District Judge; Simandle,
District Judge.

      AND NOW, this 10th day of April, 2018, upon consideration of the motion

(Doc. 139) to intervene as plaintiff and for reconsideration filed pro se by Jeffrey

Cutler (“Cutler”) on April 3, 2018, wherein Cutler—who identifies himself as a

citizen of the United States and elected municipal official—remonstrates that the

Pennsylvania Supreme Court decision challenged sub judice, which decision this

court declined to review for lack of jurisdiction on March 19, 2018, (see Docs. 136,

137), contravenes both the First and Fourteenth Amendments to the United States

Constitution, (Doc. 139 at 2), as well as the Pennsylvania Constitution, (see id. at
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4-6), and the court observing as a threshold matter that the rules governing

intervention require proposed intervenors to “state the grounds” supporting their

request, see FED. R. CIV. P. 24(c), but that Cutler has failed to articulate a basis

for leave to intervene as of right under Federal Rule of Civil Procedure 24(a), see

FED. R. CIV. P. 24(a), nor has he set forth a basis for permissive intervention under

Federal Rule of Civil Procedure 24(b)(1), see FED. R. CIV. P. 24(b)(1), and the court

further observing, assuming arguendo that Cutler could assert a proper basis for

intervention, that Cutler’s proposed motion for reconsideration is untimely under

and noncompliant with the local rules of this court, which require that any motion

for reconsideration “be accompanied by a supporting brief” and be “filed within

fourteen (14) days after entry of the order concerned,” LOCAL RULE OF COURT 7.10,

and the court thus concluding that the instant motion is both untimely and without

merit, it is hereby ORDERED that Cutler’s motion (Doc. 139) to intervene as

plaintiff and for reconsideration is DENIED with prejudice.

                                         FOR THE COURT:

                                         /S/ Kent A. Jordan
                                         Kent A. Jordan, Circuit Judge
                                         United States Court of Appeals
                                         for the Third Circuit

                                          /S/ Christopher C. Conner
                                         Christopher C. Conner, Chief District Judge
                                         United States District Court
                                         for the Middle District of Pennsylvania

                                         /S/ Jerome B. Simandle
                                         Jerome B. Simandle, District Judge
                                         United States District Court
                                         for the District of New Jersey
